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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




Nordonia Hills City School District         )
Board of Education, et al.,                 ) CASE NO. 5:16CV1973
                                            )
       Plaintiffs,                          ) JUDGE JOHN R. ADAMS
                                            )
    -vs-                                    )
                                            ) ORDER
Jason D. Wallace, et al.,                   )
                                            )
                                            )
       Defendants.                          )


       The parties appeared before the Court for a case management conference on December

15, 2016. At that time, Defendants had not provided initial disclosures to Plaintiiffs, asserting

that this matter was exempt from the initial disclosure requirement.           As a result, the

Court continued the CMC to December 22, 2016 at 10:00 a.m. By no later than 5 p.m. on

December 21, 2016, Plaintiffs shall submit a document reflecting the costs incurred related to

their attendance on December 15, 2016. In addition, by that same deadline, Defendants shall

show cause why they should not be required to pay those costs.

       IT IS SO ORDERED.



Dated: December 16, 2016                            /s/ John R. Adams_______________
                                                    JOHN R. ADAMS
                                                    UNITED STATES DISTRICT JUDGE
